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Altomeys for defendants County of Los Angeles,
Deputy enneth Felix, Deputy Timothy Lopez
and Set. Nicholas Cabrera
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
MICHAEL LUNA, Case No. CV 07-04715 SJO (ICx)
Plaintiff,
RESPONSE OF DEFENDANTS TO
~VS- . PIAINTIFF’S MOTION IN LIMINE

/ COUNTY OF LOS ANGELES, LOS

ANGELES COUNTY SHERIFE’S
DEPARTMENT, KENNETH FELIX,
TIMOTHY LOPEZ, NICHOLAS
CABRERA, and DOES 1 through 10,
inclusive, . |

Defendants

~ Plaintiff has moved the court in limine for an order precluding evidence of
plaintiffs prior criminal arrests and convictions as well as regarding other
allegations of wrongdoing.
Plaintiff secks damages for physical and emotional distress. Within the last
few months, approaching 3 years after the subject incident, he has visited a

psychologist who has been designated as an expert and the expert’s Rule 26 report

attributes depression to the subject incident. The report, however, documents in

the psychologist’s history taken from the plaintiff other potential sources of

explanation for his depression.

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The report indicates plaintiff has an 18 year daughter by another woman
with whom he had court battles until 6 years ago when he stopped fighting for
custody. He suggested to the psychologist that “...the court did not give him
custody owing to allegations by her mother that he was physically abusive towards
her’, and, as a result, he was allowed only monitored visits.”

In his deposition, the psychologist also acknowledged that estrangement
from his daughter, the court battles with the mother of the child and allegations of
physical abuse could impact plaintiff emotionally as well as indicating he would
want to know of any prior arrests. (Deposition of Anthony Reading , Ph.D, 58:8-
60:21.) . .

Clearly, such evidence is relevant in testing the source(s) of depression and
is appropriate material for cross-examination of the psychologist.

The psychologist’s Rule 26 report further commented upon plaintiff's time
following the subject incident at the Los Angeles County jail and his feeling “very
uncomfortable waiting with other inmates.”

It is anticipated that plaintiffs claim of emotional distress will encompass
his time suffering in jail following the subject incident.

“[T]he fact of prior imprisonment is a consideration to the extent of mental
suffering occasioned by the wrongful confinement.” Bryan v. Jones, 519 F.2d 44,
46 (5" Cir. 1975)

Surely, a jury could infer that due to one’s time previously in jail, the
degree of distress from a second time in jail is less likely to provoke such a degree
of distress that would have been suffered by a first timer.

Another judge of this district court has agreed that prior confinement is
relevant on the issue of damages stating:

Defendant argues that plaintiff's prior convictions and incarcerations

are relevant to the extent plaintiff seeks to recover damages for

emotional distress, citing Bryan v. Jones, 519 F.2d 44 (5th Cir.1975),

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Ford v. Wells, 347 F.Supp. 1026 (E.D.Tenn.1972), and Alamo
Downs v. Briggs, 106 $.W.2d 733 (Tex.Civ.App.1937). In Bryan, the

Fifth Circuit held in a section 1983 action for false imprisonment that

a plaintiff's prior incarceration was relevant to the extent he claimed

damages for mental suffermg occasioned by wrongful confinement.
Bryan, supra, 519 ¥.2d at 46. Ford and Alamo Downs similarly
suggest that a person who has previously been incarcerated may
suffer less damage as a result of a subsequent wrongful incarceration.
See Ford, supra, 347 F.Supp. at 1030 (““Mr. Ford appears to have
been arrested for public drunkenness and related crimes some 21
times before this episode; he was not as damaged by being unlawfully
arrested and imprisoned as another person with an unblemished
record might have been”); Alamo Downs, supra, 106 S.W.2d at 738
(““The appellee, having alleged that by reason of the assault and
battery and false arrest and imprisonment he suffered great mental
anguish, pain, and humiliation, and having testified to such, if he had
been in jail for breaches of the peace, we think the fact would be
pertinent to go before the jury for their consideration as to the amount

of damages allowed in this action’”’).

' The cases cited by defendant are consistent with Rule 404(a), which

allows the use of character evidence for purposes other than proving
acts in conformity therewith. None of the cases cited by defendant,
however, addresses the issue of prejudice, which Rule 404 requires.
See Fed.R Evid. 404(a), Advisory Committee Notes. Although
defendant has submitted an offer of proof regarding plaintiff's
criminal history, he has not identified which convictions and
incarcerations he intends to offer into evidence. Having reviewed

plaintiff's criminal history, the court agrees that the fact that plaintiff

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1 has been incarcerated on a number of prior occasions, and the length

2 of those periods of incarceration, is relevant to the jury's

3 consideration of the damages he is entitled to recover in this case. See

4 Peraza v. Delameter, 722 F.2d 1455, 1457 (Oth Cir.1984) (holding

5 that in a §§ 1983 action for excessive force, the trial court did not

6 abuse its discretion when it admitted evidence of plaintiff's

7 subsequent encounters with the police and difficulties in school as

8 relevant to plaintiff's claim that he suffered injury to ““ ““head, body

9 and psyche’’ ’””’ as a result of the arrest); see also Knudsen v. Welsh,
10 872 F.2d 428, 1989 WL 30470, (9th Cir.1989) (Upub.Disp.) (holding
11 that in a §§ 1983 action for illegal detention, trial court did not abuse
12 it discretion in admitting evidence of defendant's prior arrests, police
13 contacts and periods of incarceration, with a limiting instruction that
14 such evidence was only relevant insofar as it beared on the issue of
15 damages for emotional distress). The nature of the convictions that
16 led to the earlier incarcerations, however, is not relevant to damages,
17 however, and would have a prejudicial impact that would outweigh
18 any probative value that exists. Accordingly, as respects the issue of
19 damages for emotional distress, defendant may introduce evidence of
20 the number and duration of plaintiff's prior periods of incarceration.
21 _ Plaintiff's contention that such evidence will be unduly prejudicial
22 can be properly addressed by giving an appropriate limiting
23 instruction to the jury. Green v. Baca, 226 F.R.D. 624, 656-657
24 (C.D.Cal. 2005) reversed on other grounds on rehearing, 530 F.2d
25 1210 (1976) (damages issue unaffected by holding on rehearing).
26 While defendants concede such evidence is not probative on the issue of
27 || liability, this problem can be obviated by bifurcation of issues of liability and
28 damages.

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Dated: September 2, 2008

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